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 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                 Case No. 2:14-cr-00298-LRH-CWH
                                               )
 9   vs.                                       )                 REPORT & RECOMMENDATION
                                               )
10   MARTIN E. MCCLAIN, et al.,                )
                                               )
11                     Defendants.             )
     __________________________________________)
12
13          This matter was referred to the undersigned Magistrate Judge on Defendant Martin E.
14   McClain’s Motion to Dismiss Indictment (ECF No. 58), filed May 27, 2016, the Government’s
15   Response (ECF No. 66), filed June 13, 2016, and Defendants’ Reply (ECF No. 67) filed July 5,
16   2016. Defendant Scott Friedman filed his Joinder to the Motion to Dismiss (ECF No. 60) on May
17   31, 2016, and a Supplement to the Motion to Dismiss (ECF No. 61) on May 31, 2016. Defendant
18   Randall Petas filed his Joinder to Motion to Dismiss and Friedman’s Supplement (ECF No. 63) on
19   June 1, 2016. Defendant Friedman filed a Joinder to McClain’s Reply to the Government’s
20   Response (ECF No. 68) on July 5, 2016. The court held a hearing on July 25, 2016. (Mins. of
21   Proceedings (ECF No. 70).) With the court’s approval, the government filed a supplement in
22   opposition to defendant’s request for a bill of particulars (ECF No. 73) on August 1, 2016. Trial is
23   scheduled to begin on October 4, 2016.
24                                            BACKGROUND
25          On September 2, 2014, the grand jury for the District of Nevada charged Defendant Martin
26   McClain in a two-count indictment. (Indictment (ECF No. 1).) The grand jury charged Defendant
27   with one count of conspiracy to commit wire fraud in violation of 18 U.S.C. § 1349 and one count
28   of wire fraud in violation of 18 U.S.C. § 1343. Id. Specifically, in Count One of the indictment,
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 1   the grand jury charged that Defendant engaged in a conspiracy to commit wire fraud from in or
 2   about December 2007 to in or about July 2013. Id. In his motion, Defendant seeks dismissal of
 3   Count One of the indictment pursuant to Fed. R. Crim. P. 12(b)(3)(A) as being beyond the statute
 4   of limitations. (Mot. to Dismiss (ECF No. 58).)
 5                                                 ANALYSIS
 6   A.       STANDARD OF REVIEW
 7            Under Rule 12(b) of the Federal Rules of Criminal Procedure, “[a] party may raise by
 8   pretrial motion any defense, objection, or request that the court can determine without a trial on the
 9   merits.” A motion to dismiss is generally capable of determination before trial “if it involves
10   questions of law rather than fact.” United States v. Yip, 248 F. Supp. 2d 970, 972 (D. Haw. 2003)
11   (citing United States v. Shortt Accountancy Corp., 785 F.2d 1448, 1452 (9th Cir.), cert. denied, 478
12   U.S. 1007 (1986)). An indictment is sufficient to withstand a motion to dismiss if it contains the
13   elements of the charged offense in sufficient detail (1) to enable the defendant to prepare his
14   defense; (2) to ensure him that he is being prosecuted on the basis of facts presented to the grand
15   jury; (3) to enable him to plead double jeopardy; and (4) to inform the court of the alleged facts so
16   that it can determine the sufficiency of the charge. United States v. Musacchio, 968 F.2d 782, 787
17   (9th Cir. 1991). Generally, the court should not consider evidence appearing outside the four
18   corners of the indictment and “must accept the facts alleged in that indictment as true.” United
19   States v. Ruiz-Castro, 125 F. Supp. 2d 411, 413 (D. Haw. 2000) (citing Winslow v. United States,
20   216 F.2d 912, 913 (9th Cir. 1954), cert. denied, 349 U.S. 922 (1955)). The indictment itself should
21   be “(1) read as a whole; (2) read to include facts which are necessarily implied; and (3) construed
22   according to common sense.” United States v. Blinder, 10 F.3d 1468, 1471 (9th Cir. 1993) (citing
23   United States v. Buckley, 689 F.2d 893, 899 (9th Cir. 1982), cert. denied, 460 U.S. 1086 (1983)).
24   The court’s inquiry must end there. Arguments directed at the merits of the claims must be left for
25   trial.
26            The statute of limitations for wire fraud, 18 U.S.C. § 1343, is five years pursuant to 18
27   U.S.C. § 3282. Wire-fraud is deemed legally completed when the benefit is received. See United
28   States v. Lazarenko, 564 F.3d 1026, 1037 (9th Cir. 2009). The wire fraud statute criminalizes

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 1   each specific use of the wire, and “[e]ach offense is complete when the fraudulent matter is . . .
 2   transmitted by wire.” United States v. Niven, 952 F.2d 289, 293 (9th Cir. 1991) (overruled on other
 3   grounds by United States v. Ramsey, 172 F.3d 877 (9th Cir. 1999)).
 4   B.     DISCUSSION
 5          1.      Statute of Limitations
 6          Count One of the indictment alleges that from December 2007 to in or about July, 2013,
 7   Defendants conspired to commit wire fraud. Defendant makes no argument that Count One on its
 8   face fails to sufficiently allege a conspiracy violation under 18 U.S.C. § 1349.
 9          Defendants argue that because the statute of limitations for wire fraud is five years, and the
10   indictment was filed on September 2, 2014, to be within the statute of limitations, the wire fraud in
11   this case must have occurred on or after September 2, 2009. Although the indictment vaguely
12   refers to events occurring until February 2010, it provides no specific information. Moreover, the
13   language in Count One states that the conspiracy occurred until July 2013 without providing any
14   information regarding incidents from September 2009 to July 2013. Discovery does not reveal any
15   wire transactions later than September 2, 2009, and so the count should be dismissed. Defendant
16   also argues that the government should not be able to use Count Two, which alleges wire fraud on
17   September 2, 2009, to support its allegations in Count One because there is no evidence that the
18   two incidents are connected.
19          The government responds that the conspiracy alleged in Count One continues until there is
20   affirmative evidence of abandonment, withdrawal, disavowal or defeat of the object of the
21   conspiracy, and it is alleged that the conspiracy continued until July 2013. The indictment alleges
22   that the Defendant worked with others to fraudulently induce victim to part with funds between
23   December 2007 to February 2010, well within the statute of limitations. At the hearing, the
24   government further argued that Count Two alleges the negotiation and wire transmission of a
25   $20,000 check on September 2, 2009 was for the purpose of executing the scheme and artifice to
26   defraud which is related to Count One, and so, when the indictment is read as a whole, the
27   Defendant is on notice of at least one act in furtherance of the conspiracy within the statute of
28   limitations.

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 1           Defendant replies that at least one overt act in furtherance of the conspiracy must have
 2   occurred during the period of time within the statute of limitations, but for wire fraud, the statute
 3   begins to run when each wire fraud offense is complete. Defendant argues that the evidence shows
 4   that the victim ceased all contact with him in February 2009, which is outside the statute, and that
 5   the absence of evidence justifies a dismissal based upon the statute of limitations.
 6           Generally, a person violates the conspiracy statute by conspiring to commit a Title 18
 7   offense. 18 U.S.C. § 1349. A person violates the wire fraud statute, 18 U.S.C. § 3143, when
 8   interstate wire transmissions are used to execute a scheme of fraud, or to obtain money or property
 9   by fraud. Conspiracy is a separate crime from the underlying felony. See Pinkerton v. United
10   States, 328 U.S. 640, 643 (U.S. 1946). The parties agree that the statute of limitations is five years.
11   Count One alleges that from December 2007 to July 2013, Defendants “knowingly and willfully
12   conspired and agreed . . . to commit wire fraud, that is, to knowingly devise, with the intent to
13   defraud, a scheme and to obtain money and property from T.A. by means of materially false and
14   fraudulent pretenses, representations and promises, . . . and did cause to be transmitted by means of
15   wire communication interstate commerce any writings, signs, and signals for the purposes of
16   executing such scheme.” Because “conspiracy continues until there is affirmative evidence of
17   abandonment, withdrawal, disavowal or defeat of the object of the conspiracy,” see United States v.
18   Wilbur, 674 F.3d 1160, 1176 (9th Cir. 2012) (quotation omitted), Count One does not violate the
19   statute of limitations.
20           Moreover, Count Two of the indictment alleges a wire fraud and it specifically relates to
21   Count One, incorporates paragraphs 1-10 of the indictment (the methods and means paragraphs),
22   and further indicates that the wire fraud was caused “for the purpose of executing the scheme and
23   artifice to defraud.” There is only one scheme in the indictment, and reading the counts together,
24   the court can easily conclude that they are related and provide additional information that the
25   conspiracy continued until September 2, 2009. An indictment need not specify the evidence upon
26   which the government will rely to prove those facts. United States v. Jenkins, 884 F.2d 433,
27   438-39 (9th Cir.), cert. denied, 493 U.S. 1005 (1989). Accepting the allegations as true, see
28   Winslow, 216 F.3d at 913, on its face, Count One therefore does not violate the statute of

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 1   limitations because it alleges conspiracy to commit wire fraud and was filed within five years.
 2          2.        Bill of Particulars
 3             In reply, Defendant for the first time also moved for a bill of particulars outlining the overt
 4   acts that occurred on or after September 2, 2009, indicating that review of the voluminous
 5   discovery does not reveal facts the government intends to introduce to survive a statute of
 6   limitations challenge at trial. At the hearing, the government was granted the opportunity to
 7   respond to this new request. The government now argues that Defendant is not entitled to know all
 8   the evidence the government intends to introduce but only the theory of the government’s case, and
 9   that a bill of particulars is unnecessary when the indictment itself provides details of the alleged
10   offense.
11             Rule 7(f) of the Federal Rules of Criminal Procedure states:
12             The court may direct the government to file a bill of particulars. The defendant may move
               for a bill of particulars before or within 14 days after arraignment or at a later time if the
13             court permits. The government may amend a bill of particulars subject to such conditions as
               justice requires.
14
15   “The bill of particulars has three functions: ‘[1] to inform the defendant of the nature of the charge
16   against him with sufficient precision to enable him to prepare for trial, [2] to avoid or minimize the
17   danger of surprise at the time of trial, and [3] to enable him to plead his acquittal or conviction in
18   bar of another prosecution for the same offense when the indictment is itself too vague, and
19   indefinite for such purposes.’” United States v. Giese, 597 F.2d 1170, 1180 (9th Cir. 1980) cert.
20   denied 444 U.S. 979 (1979) (quotation omitted); see also United States v. Ayers, 924 F.2d 1468,
21   1483 (9th Cir. 1991) (identifying the threefold purpose of a bill of particulars). “A defendant
22   seeking particularization ‘has the burden of showing by brief, affidavit, or otherwise that
23   nondisclosure would lead to prejudicial surprise or the obviation of opportunities for meaningful
24   defense preparation.” United States v. Jones, 2:12-cr-00400-APG-GWF, 2013 WL 5954489, at *4
25   (D. Nev. Nov. 6, 2013) (citing United States v. Perry, 2013 WL 3158078 (D. Mass. June 19,
26   2013)).
27             In Giese, the Ninth Circuit noted that the indictment apprised the defendant of the federal
28   conspiracy offense with which he was charged and of the overt acts which allegedly contributed to

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 1   his participation in the conspiracy. Giese, 597 F.2d at 1180. It was specifically noted that requests
 2   for the “when, where, and how of every act in furtherance of [a] conspiracy” are improper
 3   discovery requests and beyond the purpose of a bill of particulars. Id. at 1181; see also United
 4   States v. Kendall, 665 F.2d 126, 135 (9th Cir. 1981) (stating that “[t]he defendant’s constitutional
 5   right is to know the offense with which he is charged, not the details of how it will be proved.”).
 6          Here, it appears that the indictment sufficiently describes each defendant’s conduct in the
 7   alleged conspiracy such that the defendant and his counsel may understand the nature of the
 8   charges against him and are able to prepare for trial and avoid or minimize the danger of surprise.
 9   Defendants do not argue an inability to understand the nature of the charges against them, or that
10   the details of the transaction underlying the conspiracy charge have not been adequately disclosed
11   in discovery. The law is clear that a bill of particulars is not a discovery device. What Defendants
12   really seek is pretrial disclosure of the precise evidence the government intends to introduce at trial.
13   As stated in Giese, “[a] defendant is not entitled to know all the [e]vidence the government intends
14   to produce, but only the [t]heory of the government’s case.” 597 F.2d at 1181 (quotation omitted).
15   There is no dispute that the government has made a significant disclosure of information regarding
16   the transaction underlying the conspiracy charge. It appears to the undersigned that the
17   government, combining sufficient details within the indictment with the discovery disclosures, has
18   provided adequate information for Defendants to defend against the conspiracy charge. It is further
19   noted that the government is under no obligation to identify every overt act committed in
20   furtherance of a conspiracy. Id.
21          Ultimately, a bill of particulars is not intended to be used for discovery purposes. United
22   States v. Chan, 2008 WL 5233585 (E.D. Cal. Dec. 12, 2008) (citing United States v. Shepard, 462
23   F.3d 847, 860 (8th Cir. 2006)). Based on the record, the undersigned concludes that a bill of
24   particulars is not necessary at this point to allow the defense to adequately prepare its case or to
25   avoid prejudicial surprise.
26                                             CONCLUSION
27           If the jury finds that Defendants conspired to violate 18 U.S.C. §1343 (wire fraud), then the
28   five-year statute of limitations applies. Accepting the facts alleged in the indictment as true, and

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 1   reading the indictment as a whole, the court finds that Count One is sufficient.
 2           Based on the foregoing and good cause appearing therefore,
 3           IT IS THEREFORE ORDERED that Co-Defendants’ motions for joinder to McClain’s
 4   motions (ECF Nos. 60, 63 and 68) are granted.
 5           IT IS RECOMMENDED that Defendant’s Motion to Dismiss (ECF No. 58), including the
 6   request for bill of particulars, is denied.
 7                                                    NOTICE
 8           This Report and Recommendation is submitted to the United States District Judge assigned
 9   to this case under 28 U.S.C. § 636(b)(1). A party who objects to this Report and Recommendation
10   may file a written objection supported by points and authorities within fourteen days of being
11   served with this Report and Recommendation. Local Rule IB 3-2(a). Failure to file a timely
12   objection may waive the right to appeal the District Court’s Order. Martinez v. Ylst, 951 F.2d
13   1153, 1157 (9th Cir. 1991).
14
15           DATED: August 3, 2016
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17                                                    ______________________________________
                                                      C.W. Hoffman, Jr.
18                                                    United States Magistrate Judge
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